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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


     THE REHAB DEPARTMENT, LLC,

            Plaintiff,

     v.                                            CASE NO. 8:23-cv-2554-SDM-LSG

     ARK POST ACUTE
     NETWORK, LLC, et al.,

           Defendants.
     ___________________________________/

                                             ORDER

            1.     With the following exceptions, the parties must conform to the dead-

     lines proposed in the case management report:



          Action or Event                                                          Date

          Deadline for serving expert disclosures under Rule 26(a)(2),
          including any report required by Rule 26(a)(2)(B).
                                                                    Plaintiff      5/12/2025
                                                                   Defendant       5/12/2025
                                                                        Rebuttal   6/12/2025
          Deadline for completing discovery and filing any motion to com-
          pel discovery. See Fed. R. Civ. P. 37; Middle District Discovery         6/6/2025
          (2021).

          Deadline for filing any dispositive and Daubert motion. See Fed. R.
          Civ. P. 56. (Must be at least five months before requested trial         7/6/2025
          date.)

          Date of the final pretrial meeting. See Local Rule 3.06(a).              11/3/2025
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         Deadline for filing the joint final pretrial statement, any motion in
         limine, proposed jury instructions, and verdict form. See Local
                                                                                   11/10/2025
         Rule 3.06(b). (Must be at least seven days before the final pretrial
         conference.)

         Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Lo-
                                                                                   11/18/2025
         cal Rule 3.06(b).

         Month and year of the trial term.                                          12/1/2025


            2.     The parties must adhere to both the pre-trial meeting and pre-trial state-

     ment requirements of the Local Rules and to the pre-trial disclosure requirements in

     the Federal Rules of Civil Procedure.

            3.     Either a motion to amend a pleading or a motion to continue a hearing,

     the pre-trial conference, or the trial is distinctly disfavored after issuance of this order.

            4.     The parties must serve no more than twenty-five interrogatories, includ-

     ing sub-parts.

            5.     The pre-trial conference will occur before Magistrate Judge Lindsay

     Griffin in Courtroom 9B, United States Courthouse, 801 North Florida Avenue,

     Tampa, on November 18, 2025, at 10:00 AM.




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                   ANY DISPUTE ABOUT DISCOVERY, THE WITNESS
                   LIST, OR THE EXHIBIT LIST REQUIRES JUDICIAL
                   RESOLUTION AT OR BEFORE THE PRE-TRIAL
                   CONFERENCE—NOT AT TRIAL. OTHERWISE, AB-
                   SENT STIPULATION BY THE PARTIES, ONLY A
                   WITNESS ON THE WITNESS LIST CAN TESTIFY AT
                   TRIAL AND ONLY AN EXHIBIT ON THE EXHIBIT
                   LIST IS ADMISSIBLE AT TRIAL. THE PARTIES MAY
                   AGREE ON ANY DISCOVERY MATTER, BUT—UN-
                   LESS ADDRESSED AT THE PRE-TRIAL CONFER-
                   ENCE—EACH PARTY ASSUMES THE RISK OF
                   NON-COMPLIANCE BY THE OTHER PARTY.

           6.      Lead trial counsel for each party must attend the pre-trial conference.

           7.      A bench trial will occur in Courtroom 15A, United States Courthouse,

     801 North Florida Avenue, Tampa, during the DECEMBER 2025 trial term.

           8.      Unless ordered otherwise and within twenty-one days after the trial

     transcript becomes available, the plaintiff must submit in a single document proposed

     findings of fact that include citations to the transcript, proposed conclusions of law

     that include citations to legal authority, and an exact statement of the relief re-

     quested. Within twenty-one days after the plaintiff’s submission and subject to the

     same requirements, the defendant must submit responsive findings of fact and con-

     clusions of law. Unless ordered otherwise, neither submission may exceed twenty-

     five pages.

           ORDERED in Tampa, Florida, on March 5, 2025.




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